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                     IN THE FEDERAL DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



 LAITH SAUD,

 Plaintiff,

 v.                                                     Case No.: 19-cv-3945

 DEPAUL UNIVERSITY, KAREN
 TAMBURRO, and MARLA MORGEN

 Defendants.




                                COMPLAINT AND JURY DEMAND


          NOW COMES Plaintiff LAITH SAUD, by and through undersigned counsel,

complaining of Defendants DEPAUL UNIVERSITY, KAREN TAMBURRO, and MARLA

MORGEN for violations of Plaintiff’s constitutionally protected rights under 42 U.S.C. § 1983,

breach of contract, breach of fiduciary duties, promissory estoppel, and false light invasion of

privacy. In support of these claims, Plaintiff states as follows:

                                           INTRODUCTION

          1.      This case is about Defendants, a large private university with millions of dollars at

      its disposal and its employees, throwing an unprotected employee under the bus to further the

      university’s own legal and public relations interest. Defendants in this case, at every stage of

      the facts in question, misled the Plaintiff, deprived him of good faith dealing and

      cooperation, colluded with one another to ruin his reputation, and abused his due process

      rights in order to protect the university.




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   2.      Plaintiff was a popular lecturer at Defendant DePaul University (“DePaul”) for

approximately twelve (12) years. In 2017, Plaintiff was falsely accused of sexual assault.

The accusations were proven false such that Plaintiff was exonerated in court and won a

defamation claim against his accuser. The accuser’s pleadings were contrived in such a way

so as to make Defendant DePaul University a party to the suit. In the process of litigating

that suit, DePaul promised to indemnify and defend Plaintiff, only to dump him the moment

it was dismissed from the lawsuit, abruptly leaving him without legal representation.

Defendants also contrived a false Title IX report in order to protect the legal and public

relations interests of DePaul, in direct violation of federal guidelines on such investigations.

In fact, in the process of contriving this report, Defendants did not once speak with Plaintiff’s

accuser, nor with anyone with direct knowledge of her allegations. Finally, Defendants

placed Plaintiff in false light by publishing an article in DePaul’s newspaper that recklessly

repeated the false accusations when Defendants knew or should have known from their own

records and other information at their disposal that such claims were false.

   3.      While Plaintiff was ultimately exonerated by a trial court in the Circuit Court of

Cook County, significant damage was done to him as a direct and proximate cause of

Defendants’ acts and omissions. Defendants, both individually and together in collusion,

worked to undermine and deprive Plaintiff of his constitutionally-protected rights, at the

expense of their duties to Plaintiff, and at expense of the truth.

                             JURISDICTION AND VENUE

   4.      This court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367. This action is

brought in part pursuant to 42 U.S.C. § 1983 to redress the deprivation under color of law of




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the Plaintiff’s rights as secured by the United States Constitution, among other counts

asserted.

    5.      Venue is proper under 28 U.S.C. § 1391(b). The parties reside and/or conduct

business in this judicial district, and the events giving rise to the claims asserted herein

occurred in this judicial district as well

                                       THE PARTIES

    6.      Plaintiff LAITH SAUD (“Plaintiff”) is a resident of Chicago, Illinois. For twelve

(12) years, Plaintiff was employed to teach in the Religious Studies department at Defendant

DePaul University.

    7.      Defendant DEPAUL UNIVERSITY (“DePaul”) is a private university organized

under the Illinois General Not for Profit Corporation Act, 805 ILCS 105/ et seq. At all times

relevant hereto, DePaul was an educational institution receiving federal funding, and subject

to Title IX of the Education Amendments Act of 1972, 20 U.S.C. § 1681 et seq.

    8.      Defendant MARLA MORGEN (“Defendant Morgen”) is sued in her official and

individual capacity. At all times relevant hereto, Defendant Morgen was employed as Senior

Associate General Counsel at DePaul. In this capacity, Defendant Morgen advised DePaul

on certain matters pertaining to Plaintiff, which, as elaborated upon below, deprived Plaintiff

of his constitutional rights and breached contractual and fiduciary duties owed to him.

    9.      Defendant Karen Tamburro (“Defendant Tamburro”) is sued in her official and

individual capacity. At all times relevant hereto, Defendant Tamburro was employed as the

Title IX Coordinator at DePaul. In this capacity, Defendant Tamburro was responsible for

overseeing DePaul’s Title IX compliance, which included conducting investigations of

complaints of alleged violations of DePaul’s Title IX enforcement policy. One such




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investigation involved depriving Plaintiff of his constitutional rights, as is elaborated upon

below.

                              FACTUAL ALLEGATIONS

                                        Background

   10.      Plaintiff was hired as an adjunct lecturer at DePaul in or around 2005. Plaintiff

taught primarily in the Religious Studies Department. Plaintiff’s classes were extremely

popular, and there were often a number of students on a waitlist to enroll into his courses.

   11.      In part because of his success in bringing up enrollment in the Religious Studies

Department, in or around 2010, Plaintiff was promoted to Visiting Assistant Professor

(“VAP”). The VAP contract was renewed each academic term after a review of Plaintiff’s

performance. Plaintiff routinely received exceptional student and faculty evaluations.

   12.      Plaintiff’s teaching philosophy emphasized in-class lectures and robust

discussions, as opposed to emphasizing papers or exams. As a result, Plaintiff had an open

policy wherein all students who attended and participated in the course received an A grade.

   13.      Throughout the course of his employment at DePaul, Plaintiff was a graduate

student pursuing his PhD at the University of Chicago. He needed to work while pursuing

his doctorate in part because Plaintiff is a single father. Plaintiff was told by the department

on numerous occasions that if he obtained his PhD, Plaintiff would be given a senior

position.

   14.      In the Spring of 2017, amidst budget cuts, Plaintiff was going to be moved to

another department to avoid laying him off.




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    15.     Meanwhile, because he was so economically important to the Religious Studies

department, teaching the most popular classes in the department, the Chair of the Religious

Studies Department invited him to adjunct and told Plaintiff to propose his own salary.

          Former Student Falsely Accuses Plaintiff, Sparking Title IX Investigation

    16.     During the Spring of 2017, Plaintiff received an attorney’s lien letter from an

attorney representing a former student. The letter advised there was a claim against Plaintiff

“with regards to repeated acts of sexual misconduct and reckless behavior involving a student

taking one of [Plaintiff’s] classes.” The letter did not provide any detail regarding the alleged

acts of the Plaintiff.

    17.     Sometime in or around May of 2017, Plaintiff was informed that DePaul was

investigating him for the alleged sexual misconduct. The investigation was conducted by

Defendant Tamburro.

    18.     Plaintiff immediately informed the Chair of the Religious Studies Department,

Khaled Keshk, that he was being investigated.

    19.     In early May of 2017, Plaintiff met with Defendant Tamburro. Plaintiff was not

informed of any specific allegations against him. During this meeting, Plaintiff informed

Defendant Tamburro that he had a consensual relationship with the former student, and that

the former student had gotten upset with him in February of 2017 (nearly a year after she had

taken his course) when he didn’t respond to her text messages within a day. He further

informed Defendant Tamburro that he never used his position for sexual favors, and that he

gave out As to all students who attended and participated in his course.

    20.     Plaintiff was also asked about another female student. Defendant Tamburro told

Plaintiff the female student had not complained about Plaintiff. Rather, Defendant




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Tamburro’s office received a report from a male student about allegedly inappropriate

conduct with the female student. Defendant Tamburro interviewed the female student about

whom the report was made, and the female student expressly denied that Plaintiff had ever

made her feel uncomfortable.

   21.     Plaintiff also emailed Defendant Tamburro sometime in or around June of 2017,

saying he believed he was the victim of misconduct by the former student because he was

being used as a conduit for her to sue DePaul.

   22.     Defendant Tamburro attempted to contact the former student, both directly and

through her attorneys. Neither the former student, nor her attorneys, cooperated with the

investigation or provided further detail regarding the alleged sexual misconduct.

   23.     Sometime in May 2017, Defendant Tamburro completed her investigation and

issued a report finding Plaintiff did not violate any of DePaul’s policies.

   24.     At all times relevant, DePaul did not have a policy prohibiting romantic

relationships between students and faculty.

  DePaul offers Plaintiff to teach courses as an adjunct for the upcoming academic year

   25.     Plaintiff informed the Chair of his department, Keshk, regarding the findings.

Keshk congratulated Plaintiff in a text message.

   26.     Keshk and Plaintiff spoke about Plaintiff continuing to teach in Religious Studies

as an adjunct for the upcoming academic year. Keshk offered to have Plaintiff teach as an

adjunct in the upcoming year, and Plaintiff accepted. Keshk told Plaintiff to email him a

proposed salary, and that Keshk would obtain approval for that amount from the Dean of the

college. Plaintiff emailed a proposed a salary to adjunct for the upcoming year, basing it on

his years of experience and high class enrollment.




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   27.     Upon information and belief, DePaul gives a higher rate of pay to adjuncts with

more teaching experience.

Former student files lawsuit against Plaintiff and DePaul, DePaul agrees to defend and
                                  indemnify Plaintiff

   28.     On June 29, 2017, the former student filed a lawsuit naming DePaul and Plaintiff

as defendants. Against Plaintiff, she alleged common law battery and violation of the Illinois

Gender Violence Act (“GVA”). Against DePaul, she alleged negligent hiring and

supervision.

   29.     The former student’s lawsuit alleged that Plaintiff had been the subject of “many

complaints of harassment” at DePaul, and that DePaul knew or should have known that

Plaintiff was engaging in sexual misconduct.

   30.     Against Plaintiff, the former student alleged that on a certain night, Plaintiff

picked her up from the DePaul campus, took her out for dinner and drinks, “plied her with

alcohol”, and then took her back to his apartment where he “forcibly” pursued sex with her,

twice. She also alleged a separate incident in Plaintiff’s office at DePaul, where she claimed

Plaintiff coerced her into touching herself.

   31.     A couple of weeks later, Defendant Morgen contacted Plaintiff and informed him

that, pursuant to the terms of the faculty handbook, DePaul would indemnify and defend

Plaintiff. DePaul selected Plaintiff’s attorneys for him. DePaul and Plaintiff also entered

into a Joint Defense Agreement (“JDA”). Among the terms was a requirement of written

notice to the other party when one party wanted to terminate the JDA.




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                  DePaul re-opens investigation, withdraws offer to adjunct

     32.    Shortly after the former student filed her lawsuit, Defendant Tamburro reopened

 her investigation regarding the former student’s claims. Once again, neither the former

 student nor her attorneys cooperated with the investigation.

     33.    Also shortly after the lawsuit was filed, DePaul abruptly withdrew its offer to

 have Plaintiff teach as an adjunct in the upcoming academic year.

     34.    Defendant Tamburro issued a second report in October of 2017. Without any

 change in the evidence, Defendant Tamburro changed her findings in the second report.

 While she still maintained that a preponderance of the evidence did not support a finding that

 Plaintiff committed battery or abused his position, she found that he had sexually harassed

 the former student. Defendant Tamburro’s methods and findings failed to adhere to federal

 guidelines on conducting Title IX investigations.

     35.    Following Defendant Tamburro’s report, DePaul sent Plaintiff a letter stating that

 he was not eligible for future employment at DePaul, and no longer allowed to participate in

 any DePaul sponsored events, nor in any events co-sponsored by DePaul.

     36.    Plaintiff asked Defendant Tamburro whether she would change her findings if

 evidence was later obtained that negated the former student’s allegations. Defendant

 Tamburro did not respond.

DePaul is dismissed from the lawsuit, stops defending Plaintiff, and publishes article in the
                       university’s newspaper regarding the case.
                    Meanwhile, Plaintiff wins the lawsuit on his own.

     37.    Plaintiff filed his verified Answer to the former student’s complaint. Specifically,

 he denied ever using his position or grades for sexual favors, and denied that the encounters




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alleged by the former student ever took place. Plaintiff also countersued the former student

for defamation.

   38.     DePaul was first dismissed without prejudice from the lawsuit on the basis that an

employer could not be held vicariously liable for sexual assault by an employee. The former

student was given leave to file an Amended Complaint, and did. Defendant DePaul was

again dismissed on the same basis, this time with prejudice.

   39.     Shortly after its dismissal from the lawsuit, on April 2, 2018 the DePaulia,

DePaul’s newspaper, published an article about the former student’s allegations. The article

was entitled, “Power Player: Former DePaul student sues ex-professor for sexual coercion.”

DePaulia journalists had been investigating the story for several months, were given access to

Plaintiff’s student lists and student contact information, and only published the story after

DePaul was dismissed from the lawsuit.

   40.     The article was posted on the DePaulia website. The article was also “pinned” on

the DePaulia’s Twitter account for several months, which meant that it appeared at the top of

the twitter page regardless of subsequent articles posted by the paper.

   41.     The article quoted a student who claimed she was in the same class as the former

student that had filed the lawsuit. The student stated of the lawsuit, “That’s not surprising to

hear about him,” and made other negative comments about Plaintiff’s professionalism. In

fact, this student was not actually in any class with Plaintiff and the former student that had

filed the lawsuit. The article also generally discussed whether it was appropriate for students

and faculty to date (students polled were split almost in half), but the article did not discuss

any other faculty members, past or present.




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   42.     The article also quoted Carol Hughes, Executive Director of Strategic Content and

Media at DePaul, who told the DePaulia that Plaintiff was “not currently employed at

DePaul” and would not comment on the reason he had left. DePaul administrators also made

no comment in the article regarding the fact that Plaintiff was never the subject of “many

complaints” of harassment at the university, as had been alleged by the former student. This

and several of the former student’s other false allegations were merely repeated throughout

the article without rebuttal, even though DePaul knew or had reason to know of their falsity.

The article made no mention of Plaintiff’s countersuit for defamation either.

   43.     Upon information and belief, DePaulia journalists were in communication with

DePaul administration, including Defendant Morgen, regarding what content to include in

the article, whom to speak with, and when to publish it.

   44.     The same day that the article regarding Plaintiff was published, April 2, 2018,

news also broke of a National Collegiate Athletic Association (“NCAA”) investigation into

DePaul’s athletic department for violating NCAA rules and regulations. Upon information

and belief, the DePaulia article regarding Plaintiff, “Power Player”, was strategically titled so

as to redirect some of the media attention the school would receive regarding the NCAA

investigation. As mentioned earlier, the article about the Plaintiff was pinned on the

DePaulia twitter account for several months after it was published. Upon information and

belief, no other article posted on the DePaulia’s Twitter page was pinned for that length of

time.

   45.      In the meantime, the former student filed a Notice of Appeal of DePaul’s

dismissal in her case. DePaul then settled with the former student. DePaul also pressured




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Plaintiff to settle. Plaintiff refused, maintaining that the lawsuit was baseless. DePaul then

informed Plaintiff, via Defendant Morgen, that it would no longer defend or indemnify him.

   46.     DePaul never notified Plaintiff that it was terminating the JDA, but also never

responded to Plaintiff’s communications after it had been dismissed from the lawsuit.

   47.     The case proceeded to trial. Because he could not afford to pay the attorneys

DePaul had obtained for him, Plaintiff was forced to proceed pro se until he found counsel to

represent him. Plaintiff obtained evidence that negated the former student’s version of events

entirely, showing conclusively the events she had alleged could not have occurred. The

former student’s attorneys argued that regardless of whether the specifically alleged sexual

encounters occurred, the former student was incapable of consenting to the romantic

relationship due to the fact that Plaintiff was employed as her instructor. Throughout the

course of the litigation, Plaintiff maintained that the former student’s complaint was baseless,

the events alleged never occurred, he never abused his position, and the pair had a consensual

relationship. Plaintiff also moved for sanctions against the former student and her attorneys

pursuant to Illinois Supreme Court Rule 137.

   48.     A bench trial was held on the matter on April 15-16, 2019. During the bench

trial, Defendant Tamburro and Keshk testified. The two contradicted one another regarding

sources of information used in Defendant Tamburro’s second report, which she used to

change her finding with respect to whether Plaintiff violated DePaul’s policy on sexual

harassment. Keshk testified he learned of Plaintiff’s alleged misconduct through Defendant

Tamburro’s report, whereas Defendant Tamburro testified she obtained information from

Keshk to substantiate her findings.




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   49.       The trial judge denied all of the former student’s claims against Plaintiff, finding

the sexual encounter she had alleged never took place and Plaintiff did not abuse his position

(the former student admitted Plaintiff never threatened or offered her anything in exchange

for sex). She also granted Plaintiff’s defamation claim against the former student.

                                     Plaintiff’s damages

   50.     Plaintiff has not been permitted to return to teach at DePaul.

   51.     The DePaulia article remains on the first page of search results when conducting a

Google search of Plaintiff’s name.

   52.     Plaintiff had been invited to lecture at classes at DePaul, but could not, due to the

restrictions imposed on him by DePaul.

   53.     Plaintiff has applied for other academic positions, but has not received requests

for interviews or any offers of employment. In some cases, Plaintiff has been directly told

that news of the former student’s lawsuit is the reason that he has not been considered for

employment.

   54.     Sometime in 2017, Plaintiff had a one-man show in production with a Chicago

theater company. Following the publication of the DePaulia article, the theater company

informed Plaintiff that it learned of the lawsuit through the DePaulia article and could not

work with Plaintiff as a result.

   55.     Throughout his career at DePaul, Plaintiff was also a frequent guest on local news

and radio. Following the DePaulia article, the Plaintiff’s relationship with local news

contacts was damaged, and he was no longer sought out for his commentary.




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   56.     In 2016, Plaintiff performed a TedX talk at DePaul. Following publication of the

DePaulia article, DePaul removed Plaintiff’s TedX talk from its YouTube channel and other

media platforms.

   57.     The aforementioned caused Plaintiff to be without employment for over two (2)

years and counting, severely impacting his ability to provide for his daughter as a single

father. It also negatively impacted Plaintiff’s professional standing and reputation,

destroying his academic career. All of this has deeply and severely impacted Plaintiff’s

emotional health and well-being.

                                        COUNT I
                42 U.S.C. § 1983 – Substantive and Procedural Due Process

   58.     Plaintiff reasserts and realleges all previously pled paragraphs as if incorporated

fully herein.

   59.     As described more fully above, Defendant DePaul and each of the other named

defendants, acting individually, jointly and in conspiracy, as well as under color of law and

within the scope of their employment, deprived Plaintiff of his constitutional right to

substantive and procedural due process. Defendants failed to provide Plaintiff with any of

the procedural due process guarantees to which he was entitled, including, but not limited to,

when it made an adverse credibility determination against Plaintiff and in favor of the

accuser when Defendants never even spoke to either party during the second round of the

investigation, and never spoke to the accuser at any point at all during the course of events.

   60.     Plaintiff had several cognizable property and liberty interests at issue, including,

but not limited to: a property interest in his right to be defended and indemnified by DePaul;

a property interest in his legitimate expectation of continued employment at DePaul; a liberty




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interest in his right to pursue the occupation of his choice; a liberty interest in participating in

academic events; and a liberty interest in his right to privacy and to free association.

    61.     Defendants violated Plaintiff’s rights when, under color of law by the authority it

had under Title IX, 20 U.S.C. § 1681 et seq., it deprived Plaintiff of the due process

guaranteed by the 14th Amendment of the United States Constitution.

    62.     Notwithstanding his eventual exoneration, Plaintiff’s life has been severely

damaged by Defendants’ misdeeds. This includes, but is not limited to: Defendants

improperly caused Plaintiff to lose his offer of employment at DePaul; Defendants caused

Plaintiff to lose opportunities to participate in events sponsored or cosponsored by DePaul,

which would have furthered his academic career; Defendants published false statements

contained in the former student’s lawsuit and offered nothing by way of information then

known that could have mitigated against the damage to his reputation; and Defendants

abruptly ended the defense and indemnification of Plaintiff in bad faith. All of this was done

while Plaintiff faced some of the most serious accusations a person can face, accusations that

turned out to be frivolous.

    63.     Defendants, acting under the color of law, deprived Plaintiff of his

constitutionally protected due process rights in order to protect DePaul’s own legal and

public relations interests. Defendants’ misconduct was objectively unreasonable and

undertaken in bad faith and/or with willful indifference to Plaintiff’s rights.

    64.     As a result of this violation, Plaintiff suffered injuries, including, but not limited

to, actual damages and emotional distress, as more fully described above.




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                                       COUNT II
                Breach of Contractual Obligation to Defend and Indemnify

   65.     Plaintiff reasserts and realleges all previously pled paragraphs as if incorporated

fully herein.

   66.     As described more fully above, DePaul owed a duty to defend and indemnify

Plaintiff to the fullest extent permitted by the Illinois General Not for Profit Corporation Act,

805 ILCS 105/ et seq., as established under Article XI of DePaul’s faculty handbook.

   67.     DePaul breached its duty to Plaintiff when, after agreeing to defend and

indemnify Plaintiff and beginning performance on said agreement, it terminated his defense

without cause.

   68.     DePaul’s breach caused Plaintiff damage, including, but not limited to, having to

bear the costs of his defense while unemployed.

                                       COUNT III
                  Breach of Fiduciary Duties / Defense and Indemnification

   69.     Plaintiff reasserts and realleges all previously pled paragraphs as if incorporated

fully herein.

   70.     Defendants DePaul and Morgen owed a fiduciary duty to defend and indemnify

Plaintiff, to the fullest extent permitted by the Illinois General Not for Profit Corporation Act,

805 ILCS 105/ et seq., as established under Article XI of DePaul’s faculty handbook.

   71.     As elaborated further above, Defendants violated their fiduciary duties to act in

good faith and to deal fairly with Plaintiff when Defendants placed DePaul’s legal and public

relations interests above their fiduciary duties to Plaintiff, and stopped indemnifying and

defending him.




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    72.     Defendants’ breach of fiduciary duty to Plaintiff caused him damage including,

but not limited to, having to bear the cost of defense while unemployed.

                       COUNT IV – Breach of Employment Contract

    73.     Plaintiff reasserts and realleges all previously pled paragraphs as if incorporated

fully herein.

    74.     Defendant DePaul offered Plaintiff employment to teach as an adjunct for the

upcoming academic year, and Plaintiff accepted. The terms of this contract were specific

with respect to duration and the duties to be performed.

    75.     Defendant DePaul breached this contract when it informed Plaintiff that he could

not adjunct.

    76.     Defendant DePaul’s breach caused Plaintiff damage, as more fully described

above.

                COUNT V – Breach of Fiduciary Duty in Employment Contract

    77.     Plaintiff reasserts and realleges all previously pled paragraphs as if incorporated

fully herein.

    78.     As elaborated further above, Defendant DePaul violated its fiduciary duty to act

in good faith and to deal fairly with Plaintiff when Defendant told Plaintiff he could adjunct

in the upcoming year and also told him to propose his own salary to adjunct, and then used

the proposed salary as a basis to deny Plaintiff employment as an adjunct. As described

more fully above, DePaul’s real motivation for the breach was to protect its own legal and

public relations interests.

    79.     Defendants’ breach of fiduciary duty caused Plaintiff damage including, but not

limited to, that he was not employed in the upcoming year, as more fully described above.




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                              COUNT VI – Promissory Estoppel

   80.     Plaintiff reasserts and realleges all previously pled paragraphs as if incorporated

fully herein.

   81.     Defendant DePaul made an unambiguous promise that Plaintiff could adjunct in

the next academic year and told Plaintiff he could request a higher pay based on his years of

experience at DePaul.

   82.     Plaintiff’s reliance on DePaul’s promises was expected and foreseeable.

   83.     Plaintiff relied on the promises to his detriment when he proposed a pay rate he

thought would be fair, and DePaul later used this as a basis to deny him employment as an

adjunct, causing him damage, as more fully described above.

                        COUNT VII – False Light Invasion of Privacy

   84.     Plaintiff reasserts and realleges all previously pled paragraphs as if incorporated

fully herein.

   85.     As described more fully above, Defendants DePaul, Tamburro and Morgen, along

with other unnamed DePaul faculty and staff, colluded to place Plaintiff in a false light to the

public by way of the article published in the DePaulia newspaper. The false light imputed

upon Plaintiff the commission of a crime, as well as conduct that would impute upon his

professional integrity, and thus would be highly offensive to a reasonable person.

Defendants acted with knowledge that the statements were false or with reckless disregard

for whether the statements were true or false.

   86.     Defendants determined when to publish the article about Plaintiff, and ultimately

approved all of the information that was included, and excluded, from the article. Statements

that placed Plaintiff in a false light include, but are not limited to: including the former




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   student’s false claim, unrebutted, that Plaintiff was the subject of “many complaints” of

   harassment, when Defendants knew or should have known the statement was false; quoting a

   student that was not even in the same class as the former student (while claiming she was)

   who then commented negatively on Plaintiff’s professionalism; and omitted the fact that

   Plaintiff had filed a defamation claim and provided no legal updates on the case, even though

   it kept the article pinned on its Twitter account for several months after it was published.

      87.        Defendants’ conduct caused Plaintiff damage, including, but not limited to, loss of

   professional and economic opportunities and significant damage to his professional

   reputation.

                                          CONCLUSION

      WHEREFORE, Plaintiff LAITH SAUD prays the Honorable Court enter judgment in his

favor and against Defendants DEPAUL UNIVERSITY, KAREN TAMBURRO and MARLA

MORGEN, and grant him the following relief:

   a. Actual damages;

   b. Compensatory damages;

   c. Punitive damages with respect to Counts I, III, V and VII;

   d. Costs;

   e. Attorney’s fees;

   f. Injunctive relief ordering Defendant DePaul University to remove its ban on Plaintiff

      from applying for future employment opportunities and participating in DePaul

      sponsored and co-sponsored events;

   g. Injunctive relief ordering Defendant DePaul University to remove the article about

      Plaintiff from any university affiliated websites and media platforms; and




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   h. Such other relief as the Court deems just and equitable.




                                    Respectfully submitted,
                                    LAITH SAUD
                                    Plaintiff


                                    _____/s/Christina Abraham_______
                                    By:    Christina Abraham
                                          Attorney for Plaintiff


June 12, 2019


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